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PROB 12A
(6/16)«

                                     United States District Court                                      FILED IN THE
                                                                                                   U.S. DISTRICT COURT
                                                                                             EASTERN DISTRICT OF WASHINGTON

                                                     for the
                                                                                              Sep 29, 2023
                                      Eastern District of Washington                              SEAN F. MCAVOY, CLERK



                                  Report on Offender Under Supervision
                                             (No Action Requested)

 Name of Offender: Kenneth Richard Rowell                  Case Number: 0980 2:13CR06070-SAB-1
 Name of Sentencing Judicial Officer: The Honorable Wm. Fremming Nielsen, Senior U.S. District Judge
 Name of Supervising Judicial Officer: The Honorable Stanley A. Bastian, Chief U.S. District Judge
 Date of Original Sentence: May 19, 2014                   Type of Supervision: Term of Supervised Release
 Original Offense: Distribution of a Controlled            Date Supervision Commenced: May 10, 2022
 Substance-Methamphetamine, 21 U.S.C. §§ 841
 (a)(1)
 Original Sentence: Prison 120 Months                      Date Supervision Expires: May 9, 2030
                   TSR - 8 Years


                                     NONCOMPLIANCE SUMMARY

On May 13, 2022, the undersigned officer reviewed with Mr. Rowell the conditions of supervised release. He
signed a copy of his conditions and verbalized understanding his requirements.

The offender has not complied with the following condition(s) of supervision:
Violation Number      Nature of Noncompliance

           1          Special Condition # 16: You must abstain from the use of illegal controlled substances, and
                      must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                      no more than 6 tests per month, in order to confirm continued abstinence from these
                      substances.

                      Supporting Evidence: Kenneth Richard Rowell is considered to be in violation of his term
                      of supervised release by having used a controlled substance, methamphetamine, and
                      marijuana, on or before July 12, 2023, and methamphetamine on or about July 17, 2023.

                      On July 13, 2023, Mr. Rowell admitted to the undersigned officer to having used marijuana
                      and methamphetamine on an ongoing basis, and his last drug use was on July 12, 2023. Mr.
                      Rowell was referred to Merit Resource Services (Merit) to complete a substance abuse
                      assessment and for drug testing. On July 17, 2023, Mr. Rowell reported to Merit for drug
                      testing as required, and the drug test results were positive for methamphetamine and
                      marijuana. Mr. Rowell informed the undersigned officer of these test results and denied any
                      new drug use. Merit staff sent this drug test to Abbott Laboratory for confirmation. U.S.
                      probation later received the drug test report confirming a positive result for marijuana and
                      methamphetamine.
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Re: Rowell, Kenneth Richard
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U.S. Probation Officer Action:

Mr. Rowell completed a substance abuse assessment on July 13, 2023, and entered into outpatient substance abuse
treatment services at Merit as instructed. Mr. Rowell has complied with drug testing as instructed and to date, drug
tests have been negative. It is respectfully recommended no action to be taken at this time as the above-mentioned
violation conduct was addressed through a treatment intervention.

                                          I declare under penalty of perjury that the foregoing is true and correct.
                                                   Executed On:              September 28, 2023
                                                                             s/Elizabeth Lee
                                                                             Elizabeth Lee
                                                                             U.S. Probation Officer
                                                                             Date: September 27, 2023


 [ X]     Court Concurs with Officer Action
 [ ]      Submit a Request for Modifying the Condition or Term of Supervision
 [ ]      Submit a Request for Warrant or Summons
 [ ]      Other



                                                                             Signature of Judicial Officer

                                                                                    9/29/2023
                                                                             Date
